Case 2:20-cv-03508-ABnRpsyRAees digrieleGGg{14/20 Page 1 of 1
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

fto be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: | ___ PHILADELPHIA, PA
Address of Defendant: PHILADELPHIA, PA
Place of Accident, Incident or Transaction: ¥ PHILADELPHIA, PA

 

 

 

RELATED CASE, IF ANY:
Case Number: ar _ Judges Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

|. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No [v]
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No [Y]

case filed by the same individual?

I certify that, to my knowledge, the within case (0 is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
204676

pare. 07/14/2020
Attorney 1D. # (if applicable)

 

 

 

 

 

CIVIL: (Place a ¥ in one category only)
Federal Question Cases: Diversity Jurisdiction Cases:

Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts

FELA Airplane Personal Injury
Jones Act-Personal Injury Assault, Defamation

Antitrust Marine Personal Injury

Patent Motor Vehicle Personal Injury

Other Personal Injury (Please specify):
Products Liability

Labor-Management Relations
Civil Rights

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. Habeas Corpus Products Liability — Asbestos
9, Securities Act(s) Cases . All other Diversity Cases
10, Social Security Review Cases (Please specify):
11. All other Federal Question Cases
(Please specify);

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

RILEY H. ROSS III

___, counsel of record or pro se plaintiff, do hereby certify

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

pare, 07/14/2020 204676

Attorney 1D. # (if applicable)

 

 

NOTE: A trial de novo will be a tial by jury only if there has been compliance with F.R.C.P. 38.

 

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